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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS



                                                    Civil Action
                                                    No: 1:19-11605-WGY

                                      CHAN
                                      Plaintiff

                                         v.

                    WELLINGTON MANAGEMENT CO. LLP et al
                                Defendants



                              ORDER OF DISMISSAL

YOUNG, D.J.

                 After a hearing held on October 19, 2021, this Court Orders that
Defendant's Motion to Dismiss is Allowed and for the reasons stated on the record the
above entitled action be and hereby is Dismissed.




                                                    ROBERT M. FARRELL
                                                    Clerk


                                                    By:     /s/ Jennifer Gaudet
                                                          Deputy Clerk




December 17, 2021
